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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


   Civil Action No. 19-cv-01056-CMA-STV

   LAKE IRWIN COALITION; and
   BOARD OF COUNTY COMMISSIONERS OF THE COUNTY OF GUNNISON,
   COLORADO,

         Plaintiffs,

   v.

   JONATHAN WHITACRE SMITH;
   ANDERSON FAMILY TRUST;
   ERIC RICHARD ASLAKSON;
   JACK A. & SANDRA E. BRILL TRUSTEES UDT DATED MARCH 24, 1981;
   ALLISON ELLIOT;
   RICHARD GILDERSLEEVE;
   ERIC W. JORDAN;
   NICHOLAS J. LYPPS TRUST;
   THOMAS MOORE;
   RUBY PEAK L.L.C.;
   SCARP RIDGE L.L.C.;
   ROBINSON BASIN L.L.C.; and
   CRAIG A. SCHOEPKE,

         Defendants.

   ______________________________________________________________________

           RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE
   ______________________________________________________________________

   Magistrate Judge Scott T. Varholak

         This matter comes before the Court on Defendant Jonathan Smith’s Motion to

   Dismiss for Lack of Subject Matter Jurisdiction [#334] (the “Motion”). The Motion was

   referred to this Court. [##335, 342] This Court has carefully considered the Motion and

   related briefing, the case file and the applicable case law, and has determined that oral
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   argument would not materially assist in the disposition of the Motion. For the following

   reasons, the Court respectfully RECOMMENDS that the Motion be DENIED.

   I.     BACKGROUND 1

          Defendant Jonathan Whitacre Smith (“Defendant Smith”) has owned a property

   known as “Peggy Lode” since 2001. [#62 at ¶¶ 29, 33] On Peggy Lode is FSR826.1D,

   commonly known as Green Lake Road (the “Green Lake Road”). [Id. at ¶¶ 30, 46] Green

   Lake Road has existed as a public road within the Gunnison National Forest at all times

   and dating back to 1879. [Id. at ¶ 34] Green Lake Road has historically been open to the

   public and provides access to private mining claims as well as forest service lands

   managed by the Forest Service. [Id. at ¶ 35] In recent decades, Green Lake Road has

   been a popular hiking, biking, and motorized vehicle trail under the direction and control

   of the Forest Service. [Id. at ¶ 45]

          In the summer of 2016, Defendant Smith took steps to restrict access across

   Peggy Lode by erecting a gate at his property line, thereby excluding hikers, bikers, and

   other public users. [Id. at ¶ 31] Defendant Smith continues to restrict access across

   Peggy Lode to public use by constructing a locked gate across the Green Lake Road




   1 Although the Motion is styled as seeking dismissal, the Court construes it as seeking
   remand. See Section II, below. Nevertheless, the facts are drawn primarily from the
   allegations in Plaintiffs’ Federal District Court Amended Complaint [#62], which must be
   taken as true when considering a motion to dismiss. See Wilson v. Montano, 715 F.3d
   847, 850 n.1 (10th Cir. 2013) (citing Brown v. Montoya, 662 F.3d 1152, 1162 (10th Cir.
   2011)). The Court also takes judicial notice of its own files and records, as well as facts
   related to this case’s procedural history which are a matter of public record. See Van
   Woudenberg v. Gibson, 211 F.3d 560, 568 (10th Cir. 2000) (“[T]he court is permitted to
   take judicial notice of its own files and records, as well as facts which are a matter of
   public record.”) abrogated on other grounds by McGregor v. Gibson, 248 F.3d 946, 955
   (10th Cir. 2001).

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   where it begins at Peggy Lode and has posted signs keeping the public from accessing

   Forest Service lands and private property. [Id. at ¶ 63]

         Plaintiffs John Brio and Lake Irwin Coalition (the “LIC”) initiated the present matter

   by filing case number 2017CV30060 in the District Court for the County of Gunnison,

   Colorado on September 8, 2017. 2 [#22 at 6] On January 11, 2019, Plaintiffs filed a

   second amended state court complaint, joining several defendants as indispensable

   parties pursuant to Colo. R. Civ. P. 19(a), including the United States Forest Service

   (“Defendant USFS”). [Id. at 2] The second amended state court complaint sought a

   declaration that: (1) the Green Lake Road was a public road pursuant to the Mining Act

   of July 26, 1866, § 8, 14 Stat. 253, codified at 43 U.S.C. § 932 (“R.S. 2477”), repealed by

   Federal Land Policy Management Act of 1976, Pub. L. No. 94–579 § 706(a), 90 Stat.

   2793, (2) the Green Lake Road was a public road pursuant to Colo. Rev. Stat. § 43-2-

   201(1)(c), or (3) Plaintiffs were the rightful owners of an easement across the Green Lake

   Road. [#1-4 at ¶¶ 37–49] Defendant USFS removed the matter to federal court pursuant

   to 28 U.S.C. § 1442(a)(1) on April 10, 2019. [#1]

         On November 15, 2019, Plaintiffs filed the operative Plaintiffs’ Federal District

   Court Amended Complaint (the “Complaint”). [#62] The Complaint brings two claims for

   relief. In Claim One, Plaintiffs seek a declaration under Colorado’s Uniform Declaratory

   Judgments Law, Colo. Rev. Stat. 13-51-101 et seq., that the portion of Green Lake Road

   that crosses the Peggy Lode is a public road under Federal law (R.S. 2477) and/or

   Colorado law (Colo. Rev. Stat. § 43-2-201(1)(c)), or, alternatively, that Plaintiffs have


   2The record available to the Court does not include the original state court complaint, nor
   does the Complaint characterize it. [See #62]

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   private rights over the same under the doctrine of private implied easement. [Id. at ¶¶ 66–

   81] In Claim Two, Plaintiffs seek an adjudication of the rights and responsibilities of the

   parties to this action and to quiet title in the portions of Green Lake Road crossing the

   Peggy Lode, asserting non-disclaimer under 28 U.S.C. § 2409a(e) (the “Quiet Title Act”).

   [Id. at ¶¶ 82-91]

            Defendant Smith filed the instant Motion on September 14, 2022. [#334] In it, he

   moves for remand 3 and vacatur of all previous orders entered by the Court because of

   lack of subject matter jurisdiction, pursuant to the derivative jurisdiction doctrine. [Id. at

   9–10] Plaintiffs LIC and Gunnison County responded [##337, 338], and Defendant Smith

   replied [##339, 340].

   II.      STANDARD OF REVIEW

            “A civil action . . . that is commenced in a State court and that is against” as

   relevant here, “[t]he United States or any agency thereof” “may be removed by them to

   the district court of the United States for the district and division embracing the place

   wherein it is pending.” 28 U.S.C. § 1442(a)(1). “[R]emoval under 28 U.S.C. § 1442(a)(1)

   is an absolute right.” Tinnin v. Soc. Sec. Admin., No. 18-CV-02869-RM-NYW, 2018 WL

   6990396, at *1 n.1 (D. Colo. Dec. 13, 2018) (citing Willingham v. Morgan, 395 U.S. 402,

   406 (1969)). A defendant may remove a case under Section 1442(a) without the consent

   of the other defendants. Devaul v. TK Mining Servs. L.L.C., No. 13-CV-02632-PAB-KMT,

   2014 WL 183665, at *2 (D. Colo. Jan. 15, 2014) (citing Akin v. Ashland Chem. Co., 156

   F.3d 1030, 1034 (10th Cir. 1998)).




   3   See below for discussion of Plaintiff’s asserted remedy.

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          Federal courts may remand 4 improperly removed actions back to state court under

   28 U.S.C. § 1447. The Tenth Circuit has recognized two grounds for remand under the

   statute: (1) a lack of subject-matter jurisdiction; and (2) a defect in the removal procedure.

   See Miller v. Lamberth, 443 F.3d 757, 759 (10th Cir. 2006). “Procedural defects must be

   raised within 30 days after the defendant files the notice of removal; a lack of subject

   matter jurisdiction can be raised at any time before final judgment.” Mendoza v. First

   Santa Fe Ins. Servs., Inc., No. 19-CV-00991 MV/KK, 2020 WL 4784806, at *4 (D.N.M.

   Aug. 18, 2020) (citing 28 U.S.C. § 1447(c)). “Nonjurisdictional defects must be raised

   within 30 days after the filing of the notice of removal or they are waived.” Sheldon v.

   Khanal, 502 F. App’x 765, 770 (10th Cir. 2012). The 30-day time limitation for remand

   because of a defect in the removal procedure is applicable to actions against federal

   officers removed pursuant to Section 1442(a). Adams v. W. Steel Buildings, Inc., 296 F.

   Supp. 759, 761 (D. Colo. 1969).

          “Jurisdiction on removal is derivative in nature and does not exist if the state court

   from which the action is removed lacks jurisdiction.” Crow v. Wyoming Timber Prods.

   Co., 424 F.2d 93, 96 (10th Cir. 1970). Under this “derivative jurisdiction doctrine,” federal

   courts lack jurisdiction if the state court lacked jurisdiction before removal.          High

   Lonesome Ranch, LLC v. Bd. of Cnty. Commissioners for Cnty. of Garfield, 61 F.4th 1225,

   1239 (10th Cir. 2023) (citing Lambert Run Coal Co. v. Balt. & Ohio R.R. Co., 258 U.S.




   4 Courts have “no discretion to dismiss rather than remand an action” under Section
   1447(c). Int’l Primate Prot. League v. Administrators of Tulane Educ. Fund, 500 U.S. 72,
   87 (1991). Despite the Motion’s title and initial representations, it concludes with a prayer
   that “this Court [ ] remand the case to the Gunnison District Court.” [#334 at 10] The
   Court therefore analyzes the Motion as one for remand, not for dismissal.

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   377, 382 (1922)). The Tenth Circuit recently clarified that, despite its name, the derivative

   jurisdiction doctrine is procedural, not jurisdictional, and “derivative-jurisdiction issues are

   waivable.” Id. at 1241.

   III.   ANALYSIS

          The United States is immune from suit unless Congress has expressly waived its

   sovereign immunity. Block v. North Dakota ex rel. Bd. of Univ. & Sch. Lands, 461 U.S.

   273, 280 (1983) (citations omitted). Congress waived sovereign immunity in the Quiet

   Title Act, creating the “exclusive means by which adverse claimants [can] challenge the

   United States’ title to real property.” Id. at 286. The Quiet Title Act is the sole avenue to

   establish title to a claimed R.S. 2477 right-of-way. Wilderness Soc’y v. Kane Cnty., 581

   F.3d 1198, 1219 (10th Cir. 2009), rev’d on other grounds en banc, 632 F.3d 1162 (2011).

   Therefore, to the extent to which the second amended state court complaint stated a claim

   against Defendant USFS, it must have done so under the Quiet Title Act. 5 See Shivwits

   Band of Paiute Indians v. Utah, 428 F.3d 966, 975 (10th Cir. 2005) (Courts “focus on the

   relief . . . request[ed], rather than on the party’s characterization of the claim.” (alterations

   in original) (quotation omitted)).    And federal district courts have “exclusive original

   jurisdiction” over Quiet Title Act claims. 28 U.S.C. § 1346(f).

          The Motion argues that, because federal district courts have exclusive original

   jurisdiction over Quiet Title Act claims, the state court never properly had jurisdiction over

   Defendant USFS. [#334] At the time Defendant Smith filed the Motion, there was some

   uncertainty as to whether the derivative jurisdiction doctrine was a matter of subject


   5In the Complaint, Plaintiffs clarified that the Quiet Title Act was the basis of their Claim
   Two. [#62 at ¶¶ 82–91]

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   matter jurisdiction (and therefore not waivable), or merely a procedural rule amenable to

   waiver or cure. See High Lonesome Ranch, 61 F.4th at 1240–41 (discussing the state of

   the law ex ante). Since the Motion was filed, however, the Tenth Circuit has clarified that

   “derivative-jurisdiction issues are waivable.” Id. at 1241.

          Defendant USFS removed this matter to federal court on April 10, 2019. [#1] Any

   motion to remand because of alleged defect in the procedure of removal was therefore

   due by May 10, 2019. 28 U.S.C. § 1447(c). Defendant Smith did not file the present

   Motion until September 14, 2022.         [#334]    Thus, any derivative-jurisdiction issues

   identified in the Motion have been untimely raised and are therefore waived. See High

   Lonesome Ranch, 61 F.4th at 1241.

   IV.    CONCLUSION

          For the reasons stated above, the Court respectfully RECOMMENDS that

   Defendant Jonathan Smith’s Motion to Dismiss for Lack of Subject Matter Jurisdiction

   [#334] be DENIED. 6


   6 Within fourteen days after service of a copy of this Recommendation, any party may
   serve and file written objections to the magistrate judge’s proposed findings of fact, legal
   conclusions, and recommendations with the Clerk of the United States District Court for
   the District of Colorado. 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b); Griego v. Padilla
   (In re Griego), 64 F.3d 580, 583 (10th Cir. 1995). A general objection that does not put
   the district court on notice of the basis for the objection will not preserve the objection for
   de novo review.        “[A] party’s objections to the magistrate judge’s report and
   recommendation must be both timely and specific to preserve an issue for de novo review
   by the district court or for appellate review.” United States v. 2121 East 30th Street, 73
   F.3d 1057, 1060 (10th Cir. 1996). Failure to make timely objections may bar de novo
   review by the district judge of the magistrate judge’s proposed findings of fact, legal
   conclusions, and recommendations and will result in a waiver of the right to appeal from
   a judgment of the district court based on the proposed findings of fact, legal conclusions,
   and recommendations of the magistrate judge. See Vega v. Suthers, 195 F.3d 573, 579-
   80 (10th Cir. 1999) (holding that the district court’s decision to review magistrate judge’s


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   DATED: April 27, 2023                             BY THE COURT:


                                                     s/Scott T. Varholak
                                                     United States Magistrate Judge




   recommendation de novo despite lack of an objection does not preclude application of
   “firm waiver rule”); Int’l Surplus Lines Ins. Co. v. Wyo. Coal Refining Sys., Inc., 52 F.3d
   901, 904 (10th Cir. 1995) (finding that cross-claimant waived right to appeal certain
   portions of magistrate judge’s order by failing to object to those portions); Ayala v. United
   States, 980 F.2d 1342, 1352 (10th Cir. 1992) (finding that plaintiffs waived their right to
   appeal the magistrate judge’s ruling by failing to file objections). But see, Morales-
   Fernandez v. INS, 418 F.3d 1116, 1122 (10th Cir. 2005) (holding that firm waiver rule
   does not apply when the interests of justice require review).

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